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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA,                )
                                          )
                                          )
 V.                                       )    CRIMINAL NO. 2:18-CR-26-DBH-05
                                          )
 JHOVANNY VILLALONA,                      )
                                          )
                         DEFENDANT        )


                ORDER ON MOTION TO APPOINT COUNSEL


      The defendant Jhovanny Villalona has written the Court as follows: “I

recently got denied for compassionate release. I’m asking the courts to appoint

me a Attorney as soon as possible Please. I filed for compassionate release due

to my medical issues.” (ECF No. 703).

      The court has not received a motion for compassionate release from

Villalona, so I conclude that in saying he was “denied” he must be referring to

the BOP’s or Warden’s action. Without more detail about the basis for Villalona’s

request for compassionate release, I am not in a position to decide whether to

appoint a lawyer for him.

      The request for appointment of counsel is DENIED.

      SO ORDERED.

      DATED THIS 27TH DAY OF OCTOBER, 2020


                                              /S/D. BROCK HORNBY
                                              D. BROCK HORNBY
                                              UNITED STATES DISTRICT JUDGE
